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TIMOTHY KEELEY
Plaintiff,
VS.

CISCO SYSTEMS and SUN
MICROSYSTEMS

Defendants.

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omelte: IN THE UNITED STATES DISTRICT CBURIE 1D
RETINAL, FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

Cr LP P27 LP OP? 7 TN? MM MH

U.S.) ICT COURT
NORTHERN DISTRICT OF TEXAS

    

APR - 2 2003

 

CLERK, U.S. DISTRICT COURT
By

 

 

 

 

Deputy

CIVIL ACTION NO. 3-01 CV1504-% J)

JURY DEMANDED

PLAINTIFF’S BRIEF IN SUPPORT OF RESPONSE TO DEFENDANT SUN
MICROSYSTEM’S MOTION FOR SUMMARY JUDGMENT

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
TIMOTHY KEELEY §
§
Plaintiff, §
§
VS. § CIVIL ACTION NO. 3-01CV1504-X
§
CISCO SYSTEMS and SUN § JURY DEMANDED
MICROSYSTEMS §
§
Defendants. §

PLAINTIFF’S BRIEF IN SUPPORT OF RESPONSE TO DEFENDANT
SUN MICROSYSTEM’S MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Plaintiff, Timothy Keeley (hereinafter “Plaintiff” or Keeley’), and files this
Briefin Support of Response to Defendant’s Motion for Summary Judgment,” (hereinafter “Plaintiff's
Response”) pursuant to Local Rule 56.4. In support of this Response, Plaintiff shows the following:

I.
DISPUTED ISSUES OF FACT

1. Whether Defendant intentionally discriminated against Keeley because of his opposition
to practices outlawed by Title VII?

2. Whether Defendant tortiously interfered with Plaintiff's prospective employment
with Defendant Cisco’ Systems?

3, Whether Defendant Sun Microsystems breached a contract with Plaintiff when

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it failed to pay him commissions earned under Sun Microsystem’s Sales Plan?

4. Whether Defendant’s after-acquired evidence defense fails as a matter of law
because the employment at issue in this case is employment with Cisco Systems, not Sun Microsystems
and Defendant is before this court with unclean hands?

Il.
SUMMARY OF ARGUMENT

Defendant is not entitled to summary judgment regarding Keeley’s retaliation claim because
there is a material fact issue as to when Kevin Blair was made aware of Keeley’s protected activity.
Specifically, because ofnumerous inconsistencies in his testimony, Kevin Blair possesses credibility
issues that undermine his contention that he was unaware of Plaintiff’s protected activity at the time he
provided the negative reference to Cisco.

Next, Defendant is not entitled to summary judgment regarding Keeley’s claim for tortious
interference with prospective employment. Defendant has applied the wrong legal standard regarding
this cause of action. Applying the correct legal standard, there is, at a minimum, a material fact issue
regarding Keeley’s tortious interference claim. Moreover, Keeley has not released his tortious
interference claim against Defendant.

A material fact issue also exists regarding Keeley’s breach of contract claim. Specifically, it is
undisputed that Keeley has not been paid 100% commission for sales made during FY ‘99. Finally,

Defendant’s application of the after-acquired evidence doctrine fails as a matter of law.

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III.
BACKGROUND FACTS

1. Tim Keeley had been employed by Sun Microsystems as a salesman. See
Appendix p. 1. Effective July 1, 1999, Kevin Blair became Keeley’s manager at Sun Microsystems.
See Appendix pp. 1,74. Prior to Blair becoming Keeley’s supervisor, Keeley had been attempting to
get compensation for products he had sold to areseller, Verio, who was also an end-user client of Sun.
Over two million dollars ($2,000,000.00) of end-user equipment were sold to Verio in FY ‘99. See
Appendix p. 173. Verio was an Internet Service Provider (ISP). See Appendix pp. 165-166. As
such 200% dual credit was available for sales to this client. See Appendix pp. 252-253, 273.

2. According to Sun’s FY ‘99 Sales Compensation Plan, Keeley earned a commission for
the sale of end user products if the client was listed on Keeley’s goal sheet. See Appendix pp. 174-
176. Verio was listed on Keeley’s FY’ 99 goal sheet. See Appendix p.76 Accordingly, Keeley was
entitled to receive credit for the two million dollars ($2,000,000.00) worth of equipment sold to Verio.
See Appendix pp. 174-176. Moreover, Keeley was repeatedly informed that he would be credited
with 100% compensation for Verio end-user purchases. See Appendix pp. 174-176. Keeley,
however, was not awarded the compensation due under the Sales Compensation Plan. See Appendix
pp. 178-180 Blair initially supported Keeley and thought that Keeley had been performing in the best
interest of the company. See Appendix p. 178. Blair, however, recommended that Keeley be
awarded only a fraction of the total compensation earned by Keeley pursuant to the Sales Plan. See

Appendix p. 178.

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3. Had Keeley been credited with the full amount due under the Sales Plan, he would
have reached 100+% of his plan goal which would have resulted in a commission payment of more than
sixty thousand ($60,000.00) dollars. See Appendix p.2. Keeley complained of unfair treatment and
escalated his issue to management above Kevin Blair. See Appendix pp. 111-113, 164.

4. As an employee of Sun, Keeley consistently met and surpassed his goals. Defendant, in
an attempt to mislead this Court, spends more than several pages of its brief detailing the alleged
performance issues of Keeley. These alleged deficiencies, however, amount to no more than “smoke
and mirrors” on the part of the defense. Specifically, although Plaintiff allegedly suffered from serious
performance issues, he was never disciplined by Defendant. See Appendix pp. 80-81. Defendant

alleges the following unsubstantiated performance issues:!

 

 

 

 

 

 

 

 

ALLEGED ORAL DISCIPLINE WRITTEN
PERFORMANCE ISSUED DISCIPLINE
ISSUES ISSUED
Complaints from the No No

travel department

regarding Keeley

Misrepresentation of No No

his work and

achievements

Maintenance of poor or No No

no records by Keeley

Failure to achieve sales No No

goals

 

 

' These “performance issues” only arose after Keeley continuously complained about compensation

issues. See Appendix p. 79.

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ORAL DISCIPLINE

 

ALLEGED

PERFORMANCE ISSUED DISCIPLINE
ISSUES ISSUED
Does not possess many No No

of the essential skills of
a good salesman

 

Told lies about sales No No
activities and other
business related
activities

 

 

 

 

 

Instead, the following undisputed facts characterize Keeley’s performance at Sun:

e Keeley was continuously praised by his supervisor of two years, Gerry Collins;

e Keeley performed in the best interest of the company; and

e Keeley was issued retention stock by Sun. Retention stock is issued by the company
to employees the company wants to retain and for good performance. See Appendix
pp. 1-2, 97, 178.

5. After Keeley insisted that he be fully compensated, Blair began severely scrutinizing

Keeley’s work and business trips. See Appendix pp. 2, 111-113. Keeley complained to Blair that he
believed Blair was retaliating against him because ofhis complaints. See Appendix pp. 108, 111-113.
Keeley also complained that he was being treated differently than his coworkers. See Appendix pp.
111-113. Furthermore, Keeley complained about Blair’s treatment to Human Resources, copying
Blair via email. See Appendix pp. 111-113. As Blair continued to harass Keeley, Keeley became
suspicious that the lack of fair compensation and the treatment by Blair was due to his race, African
American. See Appendix pp. 2, 114-115.

6. In late 1999/January 2000, Keeley learned that other black salesmen within the

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‘

company were experienciggic Sane 19sues with fair compensato( jij commissions earned. See
Appendix pp. 114-115. In January 2000, Keeley complained to Human Resources that he was not
fairly compensated because of his race. See Appendix pp. 114-115.

7. In his last meeting with Blair, Keeley informed Blair that he would be pursuing
the compensation issue and asked Blair who was his [Keeley’s] EEO representative within the
company. See Appendix p. 2. Blair informed Keeley that Vicky Yee was his EEO representative.
See Appendix p. 2. Thereafter, Keeley contacted Vicky Yee regarding his complaints. See
Appendix pp. 2, 117-119. Keeley, however, rather than continue to face continued unfair treatment
from Blair, resigned his position with Sun Microsystem in January 2000. See Appendix p.2. At the
time of his resignation, Blair had been his manager for approximately six (6) months, three of which
Blair had been traveling. See Appendix p. 2.

8. On January 20, 2000, Keeley filed a Charge of Discrimination with the Equal
Employment Opportunity Commission, complaining of the treatment he received from Sun
Microsystems. See Appendix p. 120. Keeley specifically complained about the unfair treatment he
received from Kevin Blair. Jd.

9. Blair contends that he did not know of any charge of discrimination filed by
Keeley until mid-July 2000 when he was informed of a complaint by Linda Linder in Chicago. See
Appendix pp. 88-89.

10. Blair, however, received a request from his legal department regarding a
compensation issue. See Appendix pp. 144-145. Blair requested that Don Deason supply the

information requested by the legal department. See Appendix pp. 144-145. Blair admits this issue

involved Keeley. See Appendix p. 98-100. Furthermore, on June 30, 2000, counsel for Sun

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Microsystems sent a letter to the EEOC answering a second request for information by the EEOC
regarding Keeley’s race discrimination charge. See Appendix pp. 146-148. In the letter, counsel
indicates that she had spoken to Kevin Blair about an oral request Keeley made to transfer to another
position within the company and that Blair’s response was that he remembered the oral request but that
Keeley had not submitted a written request. See Appendix pp. 147-148. This letter to the EEOC is
evidence that Blair was informed about Keeley’s discrimination claim prior to June 30, 2000; well
before the middle of July 2000.

11. After his employment with Sun Microsystems ended, Keeley was contacted by
Cisco Systems and invited to apply for the position of Major Account Manager in Dallas, Texas. See
Appendix p. 2.

12. Cisco’s previous Major Account Manager in Dallas, Texas, Mr. Ferguson, had
communication problems with his counterpart in Oklahoma, Karen Ward. See Appendix pp. 42-43.
Despite Ms. Wards complaints from the beginning of their working relationship, this problem persisted
for approximately (1) one year. See Appendix pp. 42-43. Mr. Ferguson was not removed from this
position, however, until after a major client complained about communications issues with Mr.
Ferguson. See Appendix pp. 42-43.

13. The Major Account Manager position at Cisco Systems is the pre-eminent
position in the installation sales industry. See Appendix p. 2. At 100% of commission plan total, the
Major Account Manager earns $250,000.00 per year. See Appendix p. 6. “Major Accounts” in
Cisco’s Dallas region consists of approximately 25 large customers with worldwide business initiatives,

which are serviced by five Major Account Managers. See Appendix p. 149.

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14.‘ The largest account in the Dallas region is Sabre/American Airlines which
purchases tens of millions of dollars worth of equipment from Cisco per year. See Appendix p. 149.
The products include the full line of enterprise networking products, from switches and routers to
application software. See Appendix p. 149.

15. For the Dallas Major Account Manager position, the recruiting process consisted
of a first stage where sales recruiter Michelle Joyce, reviewed resumes for the minimum background
and experience criteria set by Dean Ash, the supervisor of the Dallas-area Major Account Managers.
See Appendix pp. 9-10. Ms. Joyce performed a telephone screening interview with Mr. Keeley. She
formed a favorable impression of Keeley and forwarded his resume to Mr. Ash. See Appendix pp. 9-
10.

16. Mr. Ash scheduled an interview with Keeley for May 22, 2000. Mr. Ash
interviewed Keeley and found him to be a strong candidate for the position. See Appendix pp. 12, 49-
50. Keeley was the seventeenth candidate Ash had interviewed for the position. See Appendix p. 16.
Keeley was the only individual out of the seventeen candidates rated as qualified for the position by
Dean Ash, belying Defendant’s argument that Keeley was a salesman of marginal skill. See Appendix
p. 16. After the interview, Keeley completed an application for the position of Major Account
Manager. See Appendix pp. 3, 62-64. Contained within the application for Major Account Manager
is a provision which indicates that a background check would be conducted. See Appendix p. 64.
The application also contains language allegedly releasing claims arising from the background check that
is conducted. See Appendix p. 64.

17. Based upon his interview with Keeley, Mr. Ash scheduled a full round of interviews for

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Keeley on May 25, 2000, including in-person interviews with Mr. Ash’s supervisor, a colleague of Mr.
Ash in another department, and a lunch with two sales engineers. See Appendix p. 13. Mr. Ash
received positive feedback from these interviews. See Appendix p. 14.

18. On May 30, 2000, Mr. Ash scheduled an interview for Keeley with Karen Ward, the
Tulsa, Oklahoma, Major Accounts Manager. See Appendix p. 68. Ms. Ward was satisfied with
Keeley’s qualifications and experience. See Appendix p. 51. Furthermore, during his interview with
Ms. Ward, Keeley satisfactorily answered every question that Ward asked and also asked questions
himself. See Appendix pp. 50-51.

19. On May 30, 2000, Keeley was sent a letter agreement offering him the exempt
position of Major Accounts Manager at grade level 500 in the Dallas, Texas, office. See Appendix p.
69. The letter agreement defined the terms and conditions of his employment with Cisco. See
Appendix pp. 70-71. Keeley was informed that the job was his and that the only thing left to conclude
was verification of references he listed in his employment application and a background check. See
Appendix p. 3. Kevin Blair was not among the references listed by Keeley. See Appendix p. 63.

20. As requested, Keeley completed, signed and returned the letter agreement
to Cisco. See Appendix p. 71. Cisco Systems contracted with HireRight.com to perform the
background investigation. See Appendix pp. 65-67. HireRight.com investigated Keeley’s background
and contacted his references. See Appendix pp. 65-67. HireRight.com reported to Cisco that
Keeley’s background and references were satisfactory. See Appendix p. 65.

21. Thereafter, upon requesting his start date, Keeley was informed by Michele

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Joyce, a HR employee for Cisco, that despite the executed letter agreement, Cisco was not going to
hire Keeley for the position of Major Accounts Manager. See Appendix p. 3. He was informed that
he was not going to be hired because of something that had surfaced in his background check. See
Appendix p. 3. Keeley inquired about the information that had apparently surfaced, however, he did
not receive aresponse. See Appendix p. 3. Keeley reviewed the background report he had received
from HireRight.com and found nothing negative. See Appendix pp. 65-67.

22. On or about June 2, 2000, Dean Ash had a conversation with Ms. Ward which
lasted several minutes. During this conversation Ms. Ward commented upon what she perceived to be
a lack of eye contact by Keeley. See Appendix pp. 30, 54. Despite this “issue”, Ms. Ward indicated
to Dean Ash that she could work with Mr. Keeley. See Appendix p.55. Atno time did Ms. Ward
ever indicate to Dean Ash that she could not work with Keeley. See Appendix p. 55.

23. On or about June 6, 2000, Kevin Blair, Plaintiff's former supervisor at Sun
Microsystems contacted Dean Ash and told Mr. Ash, in response to Mr. Ash’s inquiry whether Cisco
should hire Keeley, that Ash should “pass on Keeley and continue his search for a candidate.” See
Appendix pp. 151, 363. Mr. Blair’s comments were in violation of Sun’s reference policy. See
Appendix pp. 84-85, 102, 154-156.

24. Immediately thereafter, in a June 6, 2000, email to Michele Keetch, a HR
representative for Cisco, Mr. Ash communicated that he wished to remove Keeley from consideration
for the position of Major Accounts Manager based upon information he had received from a
confidential source regarding Keeley’s exit from Sun. See Appendix p. 72. [emphasis added]. Mr.

Blair was the confidential source. See Appendix p. 29. In this email, Mr. Ash never mentioned the

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information he received from Karen Ward as a basis for removing Keeley from consideration for the
position of Major Accounts Manager. See Appendix p. 72.

25. Defendant, however, alleges that Keeley was not hired in large part because of a
communication issue with Karen Ward. A timeline of the important facts of this case clearly indicates

that Keeley was not hired because of a negative reference given by Kevin Blair:

 

 

 

 

 

May 25", 2000 Keeley interviews with Dean Ash

May 25", 2000 Keeley interviews with Cisco
personnel and receives favorable
reviews

May 30", 2000 Keeley interviews with Ward and
receives a favorable review

May 30", 2000 Keeley receives offer letter from
Cisco

June 2", 2000 Ash receives additional information

from Ward regarding interview

 

June 2", 2000 Cisco receives HireRight.com report
which shows nothing negative

 

 

June 6", 2000 Ash receives negative reference
from Blair
June 6", 2000 Ash removes Keeley from

consideration for the position of
Major Accounts Manager

 

 

 

 

26. Unable to receive an explanation for Cisco’s actions, Keeley filed a Charge of
Discrimination with the Equal Employment Opportunity Commission (“EEOC”) on July 5, 2000,
claiming that he had been retaliated against for engaging in protected activity. See Appendix p. 157.

27. Shortly after Keeley filed his Charge of Discrimination, Mr. Blair and Mr. Ash

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met for lunch at Tony Roma’s. Keeley’s charge of discrimination was a topic of conversation. See
Appendix p. 20. Mr. Blair states, however, that he did not discuss the charge with Ash and that he
has only discussed Keeley’s charge of discrimination when his attorneys have been present. See
Appendix p. 89, 104.

28. On March 8, 2001, the EEOC issued a determination that there was reasonable

cause to believe Keeley had been retaliated against by Defendants. See Appendix pp. 158-163.

29. In its Responses to Plaintiff's First Set of Interrogatories, Defendant denied that Kevin

Blair had given Plaintiff a negative reference. See Appendix p. 341-342. It was only after Cisco
Systems, in its Responses to Plaintiffs First Set Interrogatories, revealed that Blair had informed Cisco
that it should “give Keeley a pass,” that Sun actually admitted to the negative reference by Blair. See
Appendix pp. 363, 403-404.
IV.
ARGUMENTS AND AUTHORITIES

Sun has not proven the absence of a material fact issue. Accordingly, summary judgment
should be denied.
A. Standard for Summary Judgment

In reviewing summary judgment, the moving party has the burden of establishing that no
material fact issue exists and it is entitled to judgment as a matter of law. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 247 (1986). In determining whether a disputed material fact issue precludes

summary judgment, a court must take evidence favorable to the nonmovant as true, and indulge every

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reasonable inference in favor of the nonmovant. See Burgos v. Southwestern Bell Telephone Co., 20
F.3d 633, 635 (5" Cir. 1994)(citing Anderson 477 U.S. at 248, 106 S.Ct. at 2510).

Credibility determinations, the weighing of the evidence, and the drawing of legitimate
inferences from the facts are jury functions, not those ofa judge, whether he is ruling on a motion for
summary judgment or a motion for directed verdict. The evidence of the non-movant is to be believed,
and all justifiable inferences are to be drawn in his favor. Matsushita Elec. Indus. Co. v. Zenith
Radio Corp., 475 U.S. 574, 587-88 (1986)(citing Addickes vy. S.H. Kress & Co., 389 U.S. 144
(1970)). Neither should the trial court act other than with caution in granting summary judgment. The
trial court should deny summary judgment in a case where there is reason to believe that the better
course would be to proceed to full trial. Kennedy v. Silas Mason Co., 334 U.S. 249 (1948);
Anderson vy. Liberty Lobby, supra.

While the mere allegation of the existence of a dispute over material facts is not sufficient to
defeat a motion for summary judgment, if the evidence shows that a reasonable jury could return a
verdict for the non-moving party, the dispute is genuine. Anderson, 477 U.S. at 247-248.

B. Defendant is not entitled to summary judgment on Keeley’s retaliation claims

1. Retaliation under Title VIT

Title VII provides that an employer commits an unlawful employment practice if the
employer retaliates or discriminates against a person who opposes a discriminatory practice. See

Shackelford v. Deloitte & Touche, LLP, 190 F.3d 398, 405 (5" Cir. 1999). A plaintiff establishes a

prima facie case of retaliation by showing: (1) he was engaged in a protected activity, (2) an adverse

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employment action occurred; and (3) there was a causal connection between the participation in the
protected activity and the adverse employment decision. Jd. at 408-09. The establishment of a prima
facie case gives rise to an inference of retaliation. Jd. Once a Plaintiff has established a prima facie
case of discrimination, a Defendant must provide a legitimate non-discriminatory reason for its actions.
See Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 142 (2000).

Once a Defendant meets this production burden, a Plaintiff must prove by a preponderance of
the evidence that the reasons offered are not the true reasons but are a pretext for discrimination. Jd.
"{ T]he plaintiff may attempt to establish that he was the victim of intentional discrimination ‘by showing
that the employer's proffered explanation is unworthy ofcredence."' /d. at 143 (quoting Tex. Dep ’t of
Community Affairs v. Burdine, 450 U.S. 248, 256 (1981)).

"[A] plaintiff's prima facie case, combined with sufficient evidence to find that the employer's
asserted justification is false, may permit the trier of fact to conclude that the employer unlawfully
discriminated." Jd. at 148. "[I]t is permissible for the trier of fact to infer the ultimate fact of
discrimination from the falsity of the employer's explanation." /d. at 147. "Proof that the defendant's
explanation is unworthy of credence is simply one form of circumstantial evidence that is probative of
intentional discrimination, and it may be quite persuasive." Jd. At the summary judgment stage, a Plaintiff
need only raise a genuine issue of material fact. See Tutton v. Garland Indep. Sch. Dist., 733 F.Supp.

1113, 1116 (N.D.Tex.1990) (Fitzwater, J.).

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In the present case, the following facts are undisputed:

 

Keeley had a bad relationship with his supervisor, Kevin Blair, at Sun Microsystems and
resigned in January 2000. See Appendix pp. 2, 108, 111-113.

 

Keeley filed a charge of discrimination with the EEOC on January 20, 2000, complaining of
race discrimination at Sun Microsystems and the treatment he received from Kevin Blair.
See Appendix p. 120.

 

In May 2000, Keeley was hired by Cisco Systems as the Major Accounts Manager for
Dallas, Texas, subject to the successful completion of reference check and background
investigation. See Appendix p. 70-71.

 

Kevin Blair, in response to an inquiry from Dean Ash as to whether Cisco Systems should
hire Keeley, stated that “there were other fish in the sea.” See Appendix pp. 17, 84.

 

Tim Keeley was removed from consideration for the position of Major Accounts Manager
for Dallas, Texas. See Appendix p. 72.

 

 

 

The only issue left to resolve at the summary judgment stage is whether retaliation is the reason
why Keeley was removed from consideration for the position of Major Accounts Manager. Defendant
argues that summary judgment should be granted because Keeley cannot satisfy the third element of the
prima facie case, the causal connection between the protected activity and the adverse employment
action.

2. A material fact issue exists as to the causal connection element of Plaintiff's
prima facie case

The standard for establishing the “causal link” element of the plaintiffs prima facie case is much
less stringent than the ultimate “but for” standard necessary to prevail in a Title VII case. /d., See also
Raggs v. Mississippi Power & Light Co., 278 F.3d 463, 471 (5" Cir. 2002); See also Evans v. City
of Houston, 246 F.3d 344, 354 (5" Cir. 2001). “[A] plaintiff need not prove that her protected activity

was the sole factor motivating the employer’s challenged decision in order to establish the ‘causal link’

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element of a prima facie case.” See Long v. Eastfield College, 88 F.3d 300, 304 (5" Cir. 1996). A
plaintiff merely needs to show some connection between the protected activity and the adverse
employment action in order to establish a prima facie case of retaliation.

Sun Microsystems contends that Kevin Blair had no knowledge of Plaintiff s protected activity at
Sun Microsystems.’ However, there is circumstantial evidence to the contrary. Specifically, on
numerous occasions, Keeley complained about Blair’s unfair treatment, copying Blair via email. See
Appendix pp. 111-113 Furthermore, Keeley informed Blair that he would pursue the compensation
issue and also requested from Blair the name of the EEO officer, thus making Blair well aware that he
intended to approach Ms. Yee with an EEO issue. See Appendix p. 2.

In addition, according to Sun Microsystem’s harassment policy, once a charge of discrimination
is received by the Human Resource department, the supervisor of the employee is to be contacted
regarding the issue. See Appendix pp. 121-135. Blair, as well as Linder, Yee and Rogers, contend
that despite company policy to the contrary, he was never contacted regarding Keeley’s charge of
discrimination. See Defendant Appendix pp. 177, 337, 349, 350-351.

However, the position statement submitted to the EEOC on Sun Microsystem’s behalf contained
information specifically related to Keeley’s relationship with Blair, as well as personal observations of

Blair regarding Keeley. See Appendix pp. 136-140. When asked if the information contained within the

 

* Defendant contends that Kevin Blair did not know of Plaintiffs protected activity because he was not
informed by either Linda Linder, Vicky Yee or Elke Rogers of Keeley’s charge of discrimination. See
Defendant's brief p. 8. However, this contention does not rules out the possibility that someone else
informed Blair of Keeley’s charge of discrimination as indicated by Lori Middlehurst’s letter to the
EEOC. See Appendix pp. 146-148.

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position statement was accurate, Blair responded that it was accurate, but that he had never been
contacted for the information. See Appendix p. 91.
Finally, Kevin Blair possesses credibility issues that undermine his contention that he was not

aware of Keeley’s protected activity:

 

Statements made by Kevin Blair in his
deposition

Statements later changed by Blair in his
deposition or where contrary information
was received

 

Keeley did not make a claim of retaliation. See
Appendix p. 82.

Blair wrote an email to HR describing a
retaliation issue raised by Keeley. See Appendix
p. 108.

 

Mr. Blair has only discussed Keeley’s charge of
discrimination with his attorneys present. See
Appendix pp. 89, 104.

Mr. Ash stated that Mr. Blair had discussed
Keeley’s charge of discrimination with him over
lunch at Tony Roma’s. See Appendix p. 20.

 

Keeley did not state concerns to Blair about how
he was being treated by Blair. See Appendix p.
96.

Keeley sent Blair an email which outlined the fact
that Keeley believed that Blair was singling him
out. See Appendix pp. 111-113.

 

Blair did not know about Keeley’s race
discrimination claim filed in January 2000; a claim
which encompassed Keeley’s compensation
issue. See Appendix pp. 88-89

Blair received a request from legal requesting
information regarding the compensation issue.
This subsequent information was provided to the
EEOC on June 30, 2000. See Appendix pp.
144-145.

 

The first time Blair was aware of any kind of
complaint filed against Sun by Keeley was in the
July 2000 time frame when he was informed of
the complaint by Linda Linder. See Appendix
pp. 88-89.

Blair received a request from legal requesting
information regarding the compensation issue.
This subsequent information was provided to the
EEOC on June 30, 2000. See Appendix pp.
144-145.

 

 

Blair has not had discussions with anyone
regarding Keeley’s complaint without his
attorneys present. See Appendix pp. 89, 104.

 

Blair received a request from legal requesting
information regarding the compensation issue;
Blair requested that Don Deason supply the
information. See Appendix pp. 144-145.

 

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The first time Blair was é.. of any kind of
complaint filed against Sun by Keeley was in the
July 2000 time frame when he was informed of
the complaint by Linda Linder. See Appendix
pp. 88-89.

cos

In a June 30, 200 ter to the EEOC , counsel
for Sun Microsystems indicates that she had
spoken with Blair about Keeley’s request to
transfer to another position. See Appendix pp.
147-148.

 

Kevin Blair stated he did not know what position
Vicky Yee occupied for Sun. See Appendix p.

Kevin Blair told Keeley that Vicky Yee was the
EEO representative. See Appendix p. 2.

 

 

 

86.

 

As shown above, Kevin Blair possess credibility issues which call into question the truthfulness
of statements offered in support of Defendant’s motion for summary judgment that he was unaware of
Keeley’s previous protected activity when the adverse employment action occurred. Specifically, two
pieces of evidence, in particular, call into question the veracity of Kevin Blair as to when he was made
aware of Keeley’s protected activity.

The first piece of evidence is the email question Blair received from legal regarding the
compensation issue. See Appendix pp. 144-145. Itis undisputed that this request pertains to Keeley
and his compensation issue and that Blair was asked to provide information to legal. Jd. This email
directly contradicts Blair’s statement that he has only discussed Keeley’s complaints when his attorneys
have been present. See Appendix pp. 88-89.? The second piece of evidence is the June 30, 2000,
letter sent to the EEOC by Sun. See Appendix pp. 146-148. This letter was written in response to a
May 24, 2000, request for information by the EEOC. See Appendix pp. 141-142. The letter reveals
that counsel for Sun discussed Keeley’s request for a transfer with his manager at the time of Keeley’s
request, Kevin Blair, and that Blair recalled the request made by Keeley. See Appendix pp. 147-148.

This letter directly contradicts Blair’s statement that he was not aware of Keeley’s complaint until mid-

 

> Elke Rogers and Don Deason are not attorneys for Sun. Furthermore, this email also calls into
question the veracity of Elke Rogers who has sworn that she has not discussed Keeley’s claims with
Blair. See Defendant’s Appendix p. 257.

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July 2000. This evidence plainly indicates that, at the latest, Blair was made aware of Keeley’s claim
between May 24, 2000, and June 30, 2000, encapsulating the June 6, 2000, date.* A jury, faced with
evidence that clearly calls into question the veracity of Blair regarding a central issue of the case, could
return a verdict in favor of Plaintiff.

Because this pivotal individual has credibility issues, summary judgment must be denied.
Specifically, “a court cannot resolve credibility issues at the summary judgment stage and must deny
summary judgment if genuine credibility issues are present.” See Jacobs v. Reno, 1999 WL 155708
(N.D. Tex. 1999)(citing Dibidale of La., Inc. v. American Bank & Trust Co., 916 F.2d 300, 307-
308)(Sth Cir. 1990)(credibility assessments are not grist for the summary judgment mill).

3. Defendant's legitimate non-discriminatory is a pretext for discrimination

Once the plaintiff establishes the prima facie case, the burden of producing some non-retaliatory
reason for its action falls upon the defendant. See Harvey v. Chevron USA, Inc., 961 F.Supp. 1017,
1032 (S.D.Tex. 1997). The Fifth Circuit has instructed that ultimately, to prove a retaliation case, the
plaintiffmust establish that “but for the protected activity, the adverse employment action would not have
occurred.” See Seaman v. CSPH, Inc., 179 F.3d 297, 301 (5" Cir. 1999). If the plaintiff presents
additional evidence that the reason given by the employer for the adverse action is false or pretextual, “a
jury may infer the existence of retaliation.” See Reeves, 530 U.S. at 148.

Defendant contends that Blair’s comments to Cisco Systems were legitimate and
nondiscriminatory as they were based upon the alleged performance deficiencies of Plaintiff. In support

of its argument, Defendant cites the cases of Fields v. Phillips Sch. of Tech., 840 F.Supp. 149

 

* June 6, 2000, was the date that Keeley was removed from consideration for the position of Major
Accounts Manager.

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(W.D.Tex. 1994) and McBroom y. City of Amarillo, 2001 U.S.Dist. LEXIS 13855 (N.D.Tex. 2001).
These cases, however, are easily distinguishable from the present situation.

In Fields, plaintiff s supervisor completed a form evaluating the plaintiff's job performance. The
Defendant indicated, through checking appropriate boxes, that plaintiff was below average in several
work categories. The Defendant also noted on the form that the plaintiff had been terminated due to
tardiness and insubordination. The Court granted summary judgment for Defendant based upon the
legitimate references to Plaintiff's job performance. See Fields v. Phillips Sch. of Tech., 840 F.Supp.
149 (W.D.Tex. 1994).

In McBroom, the Plaintiffs past supervisor, in response to repeated requests by Plaintiff's
boyfriend, posing as a potential employer, mentioned both the positive and negative aspects of Plaintiff.
The Court, in granting summary judgment, determined that the comments made were even handed and
any negative information was related to behavior to which Plaintiffhad admitted. Jd. at *11. Further,
the Court held that Defendant’s statements were truthful and related to Plaintiff's job performance.

In the case at bar, the comments by Blair in no way referenced Keeley’s job performance, they
were not tempered by positive comments, they did not relate to behavior which Keeley had admitted,
nor were the Defendant’s allegations of Keeley’s alleged performance deficiencies outlined in Sun’s
business records. Defendant’s semantics regarding the “fish in the sea” comment do not obscure the
operative facts of this case, that Blair, in retaliation for Keeley’s protected activity, told Cisco Systems
that it should not hire Keeley.

Moreover, Defendant’s attempt to portray Keeley as a marginal salesman is not supported by

the evidence. Specifically, the alleged performance deficiencies of which Defendant complains were

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never documented and were never placed in Plaintiff's personnel file. See Appendix pp. 1, 80-81. In
addition, in the midst of these alleged performance deficiencies, Keeley was awarded retention stock by
Sun Microsystems. See Appendix pp. 1,97. This stock is awarded by the company to employees that
it wishes to retain and for excellent achievement in the sales department. See Appendix pp. 1, 97.
Defendant’s supplied explanation is therefore contradictory and false. Either Keeley was a problem
employee with numerous performance deficiencies or he was a valued member of the sales staff which
Sun wanted to keep. Sun’s conduct toward Keeley establishes the latter. See Appendix pp. 1-2, 97,
178.

Finally, if Blair’s comments were indeed neutral and nondiscriminatory as alleged by Sun, why
wasn’t Sun forthcoming about Blair’s comments in its Responses to Plaintiffs First Set of
Interrogatories? Specifically, in response to Plaintiffs First Set of Interrogatories, Sun indicated that
Blair had responded to an inquiry from Cisco Systems regarding Keeley and that he had informed Cisco
Systems that pursuant to Sun Microsystem’s policy, “he could not disclose any information other than to
verify that Keeley was a previous employee.” See Appendix pp. 341-342. However, after Cisco
Systems supplied its Responses and revealed that Blair had told it to “take a pass on Keeley,” Sun
amended its Responses and admitted to the statements attributed to Blair by Cisco. See Appendix pp.
363, 403-404. These facts not only call into question the credibility of Defendant, but the credibility of
Kevin Blair in particular. Accordingly, a fact issue exists and summary judgment should be denied.

4. But for Keeley’s protected activity, he would have been hired by Cisco

As shown above, there is a material fact issue as to whether Blair was aware of Keeley’s

protected activity at the time he told Cisco to “take apass on Keeley.” Defendant, however, argues that

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summary judgment should still be granted because Keeley cannot establish “but for’ the actions of Blair,
he would have been hired by Cisco. This argument is simply not supported by the facts.

Keeley was the seventeenth individual interviewed for the Major Account Manager position.
See Appendix p. 16. He was also the first applicant who possessed the necessary skill set and who
would be a good fit for the company. See Appendix pp. 12, 49-50.° After successfully interviewing
for the position, Keeley was sent an offer letter on May 30, 2000, and, according to the testimony of
Dean Ash, Cisco Systems would have hired Mr. Keeley for the Major Account Manager position ifhe
had not received communication from Kevin Blair stating words to the effect that Ash should not hire
Keeley. See Appendix p. 33. Nevertheless, Defendant argues that Ash based his decision not to hire
Plaintiff in large part to the alleged communication issue between Keeley and Karen Ward.

However, the email Dean Ash sent to Michele Keetch evidences that the impetus for
removing Keeley from consideration for the Major Account Manager position was the “disturbing
information he [Ash] received from a confidential source regarding Keeley’s exit” from Sun. [emphasis
added] See Appendix p.72. Karen Ward’s additional observations, while relayed to Dean Ash prior
to June 6, 2000, were not listed as a basis for removal anywhere in the email sent by Ash to Michele
Keetch. See Appendix pp. 30, 72. Finally, it is undisputed that Ms. Ward informed Ash that she could
work with Keeley and that she never informed Ash that she could not work with Keeley. See Appendix
p. 55.

Notwithstanding the evidence that Cisco would have hired Keeley, Defendant, in an attempt to

bolster its argument cites the case of Willis v. Sweetheart Cup., 2002 U.S.Dist. LEXIS 498 (N.D.Tex.

 

> This fact further belies Defendant’s argument that Keeley was a salesman of “marginal skill.”

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2002)(Boyle, M.). Willis, however, is easily distinguishable from the present case. In Willis, the
Plaintiff could not establish that he had ever been offered a permanent position and the Defendant merely
informed the potential employer that Plaintiff could not make deliveries to the Sweetheart premises. In
the case at bar, Keeley has provided summary judgment evidence that he was offered permanent
employment by Cisco. Furthermore, Keeley has provided summary judgment evidence that Blair told
Cisco Systems that it should “take a pass on Keeley.” As the facts in the present case are quite different
from those presented in Willis, Willis is not dispositive and summary judgment should be denied.

J. Finally, the Cause Determination issued by the EEOC, as well as the credibility
issues of Blair, raise a material fact issue

This circuit has held that the findings and conclusions of the EEOC can serve to establish a
prima facie case of discrimination. See Turpen v. Missouri-Kan.-Tex.R.R. Co., 736 F.2d 1022, 1026
(5" Cir. 1984)(citing Smith v. Universal Servs., 454 F.2d 154 (5" Cir. 1972). Notwithstanding legal
precedent, Plaintiff does not contend that the cause determination, by itself, creates a fact issue as to
whether Keeley has established a prima facie case of discrimination; rather Plaintiff contends that the
EEOC Cause Determination, along with the evidence presented by Plaintiff is sufficient to raise a
material fact issue. See Khanna v. Park Place Motorcars of Houston, Ltd., 2000 WL 1801850
(N.D. Tex.)(Fitzwater, J.)(Plaintiff need only raise a genuine issue of material fact at the summary
judgment stage). For all of the reasons listed above, Defendant’s Motion for summary judgment should

be denied.

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C. Defendant Sun Microsystems tortiously interfered
employment with Cisco Systems.

Plaintiff's prospective

1, Defendant has applied the wrong legal standard

Defendant, citing the case of Wal-Mart Stores, Inc. v. Sturges, 52 S.W.3d 711 (Tex. 2001),
contends that Plaintiff cannot maintain his tortious interference with prospective employment claim
because he cannot establish that Blair committed an independently tortious or unlawful act. The legal
standard defined in Wal-Mart, however, is not applicable to Keeley’s claim for tortious interference with
prospective employment.

In Wal-Mart, the Plaintiffs contracted for the purchase of commercial property. The contract
gave purchasers the right to terminate the lease if within sixty days they were unable to lease the property
and secure the written approval of Wal-Mart to the intended use of the property. The Plaintiffs intended
to lease the property to Fleming Foods, who planned to build a food store in the area. Wal-Mart
initially indicated that it would approve the intended use for the property. Jd. at 714.

Upon reconsideration, Wal-Mart informed Fleming Foods that it desired to expand onto the
property at issue and that if it could not acquire the commercial property, it would close its store and
relocate. Since Fleming was not interested in leasing the property without a Wal-Mart next door, it
informed Plaintiffs that it was not interested in leasing the property. Jd. The Plaintiffs then opted out of
their contract and several months later, Wal-Mart purchased the commercial property and expanded its
store. Jd. Thereafter, the Plaintiffs sued Wal-Mart for tortiously interfering with their prospective lease
with Fleming.

After the trial court, the jury returned a verdict in favor of the Plaintiffs. The Court of Appeals

affirmed the verdict. In reversing the jury verdict, the Texas Supreme Court delineated a new standard

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for tortious interference with prospective business contracts. The Texas Supreme Court stated that to
maintain a cause of action for tortious interference with prospective business relations, a Plaintiffmust
prove that the defendant’s conduct was independently tortious or wrongful. Jd. at 726. However, in
delineating this new legal standard, the Texas Supreme Court was very clear in stating that this standard
applied to situations of business competition. Specifically, the Court stated:

“Tn reaching this conclusion, we treat tortious interference with

prospective business relations differently than tortious interference

with contract. It makes sense to require a defendant who induces

a breach of contract to show some justification or privilege for

depriving another of benefits to which the agreement entitled him.

But when two parties are competing for interests to which

neither is entitled, then neither can be said to be more

justified or privileged in his pursuit. If the conduct of each

is lawful, neither should be heard to complain that mere

unfairness is actionable. Justification and privilege are not

useful concepts in assessing interference with prospective

relations, as they are in assessing interference with an

existing contract. Jd. at 727. [emphasis added].

Notwithstanding this clear directive from the Court, Defendant attempts to further its argument
regarding the application of the Sturges standard by citing two cases, Willis v. Sweetheart Cup, 2002
U.S.Dist. LEXIS 498 (N.D.Tex. 2002)(Boyle, M.) and Baty v. Protech Ins. Agency, 63 S.W.2d 841
(Tex.App.—Houston [14 Dist.] 2002, no pet.). These cases, however, do not support the application
of the Sturges standard to the present situation. In Willis, the Plaintiff complained of the loss of an
employment opportunity. While addressing the Sturges standard, Magistrate Boyle stated that Sturges

“fell short” of stating the elements of the particular tort in front of her: interference with potential

employment. Id at *4.

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A review of Baty reveals that it, like Sturges, deals with a situation where two parties are
involved in a business competition situation. In Baty, an independent insurance agency brought an action
against two ofits former officers, their new company and four other insurance companies. The Plaintiff
alleged that the Defendants and their new insurance companies had breached their fiduciary duties and
had wrongfully diverted business from Plaintiff. In a free enterprise system, it is certainly justifiable to
encourage business competition. However, there is no similar public policy justification for allowing
interference with prospective employment opportunities. Such is the situation presently before this
Court.

Three cases decided after Sturges are instructive on the application of the correct legal standard
for tortious interference in a prospective employment situation. See Borner v. Zale Lipshy University
Hospital, 2002 WL 449576 (N.D.Tex. 2002)(Buchmeyer, J.); See also Larson v. Family Violence
and Sexual Assault Prevention Center of South Texas, 64 S.W.3d 506 (Tex.App.— Corpus Christi,
2001, pet. denied); See also Taylor v. Beacon Industries, Inc., 2001 WL 1029477 (N.D.Tex.
2001)(Kaplan, M.).

In Borner, the Plaintiff filed a claim for, among other causes of action, tortious interference with
prospective business relations. Plaintiff's claimed that she had been prevented from obtaining
employment because of an erroneous background report. In a March 2002, decision,° Judge

Buchmeyer decided the claim using the following legal standard: 1) areasonable probability that plaintiff

would have entered into a contractual relationship; 2) defendant’s intentional and malicious conduct; 3)

 

® This case was decided after Willis v. Sweetheart Cup, 2002 U.S.Dist.LEXIS 498 (N.D.Tex.
2002)(Boyle, M.).

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causing actual harm by preventing the business relationship; and 4) a lack of legal justification or excuse
for defendant’s actions. Jd. at *10 (citing Kiepfer v. Beller, 944 F.2d 1213, 1220 (5" Cir. 1991)).

In Larson, the Plaintiffbrought suit against Defendant for tortious interference with prospective
contract as a result of media reports regarding the Shelter and because alleged facsimiles with
disparaging comments about her were received by prospective employers. In analyzing Plaintiff's
tortious interference with a prospective contract claim, the Court applied the legal standard outlined
above. See Larson, 64 S.W.3d at 517. Finally, in Taylor v. Beacon Industries, 2001 WL 1029477
(N.D.Tex. 2001), Plaintiff brought suit against Defendant for tortious interference with prospective
contract alleging that Defendant had told his prospective employer that he “was not a good employee
and would not be rehired by Beacon in the future because he did not do his job and had very high
unexcused absences.” Magistrate Kaplan, in deciding the tortious interference with prospective
contract claim, applied the same legal standard as outlined in Borner.

These cases, all decided after Sturges and all dealing with situations in which an individual
alleged deprivation of an employment opportunity, all applied the legal standard outlined by Judge
Buchmeyer in Borner. Accordingly, the correct legal standard to be applied in the present case is that
applied in Borner, Larson and Taylor.

2. Applying the correct legal standard, there is, at a minimum, a material fact issue
as to whether Defendant tortiously interfered with Plaintiff's prospective
employment.

Texas law protects prospective as well as existing contracts from third party interference.

Sterner v. Marathon Oil Co., 767 S.W.2d 686, 689 (Tex. 1989). The elements of a tortious

interference with prospective contract or business relationships are: (1) a reasonable probability that the

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parties would have entered into a contractual relationship, (2) an intentional and malicious act by the
defendant that prevented the relationship from occurring, with the purpose of harming the plaintiff, and
(3) actual harm or damage resulted from the defendant’s interference. Jd.; See also Exxon Corp. v.
Allsup, 808 S.W.2d 648 (Tex.App.--Corpus Christi 1991, writ denied). In the present case, there is,
at aminimum, a material fact issue as to whether Defendant Sun Microsystems tortiously interfered with
Plaintiff's prospective employment.
Keeley and Cisco Systems would have entered into a contractual relationship

To prove a cause of action for tortious interference, one must show a reasonable probability that
the parties would have entered into a contractual relationship. Sterner v. Marathon Oil Co., 767
S.W.2d 686, 689 (Tex. 1989). Defendant alleges that Plaintiff was not hired for the position of Major
Account Manager due to, in large part, his communication issues with Karen Ward. However,
according to the testimony of Dean Ash, Cisco Systems would have hired Mr. Keeley for the Major
Account Manager position ifhe had not received communication from Kevin Blair stating words to the
effect that Ash should not hire Keeley. ’ See Appendix p. 33.

Furthermore, the email Dean Ash sent to Michele Keetch evidences that the impetus for
removing Keeley from consideration for the Major Account Manager position was the disturbing
information he received from a confidential source regarding Keeley’s exit from Sun. Karen Ward’s

additional observations, while relayed to Dean Ash prior to June 6, 2000, were not listed as a basis for

 

7 Prior to deciding to hire Mr. Keeley, Mr. Ash had interviewed sixteen (16) potential applicants for
the position of Major Account Manager before interviewing Plaintiff; with all of the applicants lacking
qualifications for the position. See Appendix pp. 14-16. It is undisputed that Defendant Cisco
Systems considered Plaintiff to be qualified and offered him the position of Major Account Manager.
See Appendix pp. 14-16.

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removal anywhere in the email sent by Ash to Michele Keetch. See Appendix pp. 30, 72. Finally, it is
undisputed that Ms. Ward informed Ash that she could work with Keeley and that she never informed
Ash that she could not work with Keeley, contrary to the assertion made by Defendant. See Appendix
p. 55. As such, there is at a minimum, a material fact issue as to the reasonable probability of a
contractual relationship and summary judgment should be not granted.

Kevin Blair intentionally interfered with Keeley’s employment with Cisco
Systems

Defendant Sun admitted to the comments made by Kevin Blair only after Cisco Systems, in
response to discovery, revealed the substance of those comments. Specifically, Cisco revealed that
Blair told it to “take a pass on Keeley.” In addition, in his deposition, Kevin Blair admitted that after
being informed by Mr. Ash that he was considering Plaintiff for the position, he told Dean Ash words to
the effect that Cisco should “take a pass on Keeley.” See Appendix pp.151,363.* Such action on the
part of Kevin Blair was done intentionally and with the purpose of harming Plaintiff. See Browning-
Ferris, Inc. v. Reyna, 865 S8.W.2d 925, 927 (Tex. 1993).

Moreover, this action was done in direct violation of Sun Microsystems reference policy. See
Appendix pp. 84-85, 102, 154-156. Specifically, according to Sun Microsystem’s reference policy,
the only information to be provided about an employee was the period of employment with the
company. See Appendix pp. 154-156. By telling Defendant Cisco Systems to look at other
applicants, Blair not only violated company policy, he also tortiously interfered with Keeley’s

prospective employment. If Blair had simply adhered to Sun Microsystem’s reference policy, it is

 

8 Defendant Cisco has continually maintained that it received information that it should, in effect, take a
pass on Keeley. See Appendix pp. 151, 363.

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reasonably probable that Keeley would have began employment with Cisco Systems. See Appendix p.
33.

Defendant, however, contends that it is not liable for tortious interference because Blair’s
comments do not constitute activity for which civil liability may be imposed. Specifically, Defendant
contends that Blair’s comments are protected by Texas Labor Code Section 103.003-004. Pursuant to
Texas Labor Code Sections 103.003 and 103.004, “an employer who discloses information about a
current or former employee’s job performance?’ . . is immune from civil liability for that disclosure...”
[emphasis added]. Blair’s comments, however, are not protected by the Texas Labor Code.
Specifically, the Texas Labor Code defines “job performance” as the “manner in which an employee
performs a position of employment and includes an analysis of the employee’s attendance at work,
effort, knowledge, behaviors, and skills.” Tex.Lab.Code Ann. § 103.002 (Vernon 2002).

Blair told Cisco Systems that it should take a pass on Keeley. See Appendix pp. 151, 363.
This comment in no way referenced the manner in which Keeley performed his position, nor was this
comment an analysis of Keeley’s “attendance at work, effort, knowledge, behaviors, and skills.” See
Tex.Lab.Code Ann. § 103.002 (Vernon 2002). As such, Blair’s comments are not protected by the
Texas Labor Code and there is, at minimum, a material fact issue as to whether Blair intentionally
interfered with Keeley’s employment.

Plaintiff suffered actual harm because of the interference

In the present case, because of Defendant Sun Microsystem’s interference with his prospective

employment, Keeley lost the position of Major Account Manager as well as the salary and benefits that

 

° Defendant’s citation curiously omits the reference to job performance.

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accompanied that position. See Appendix pp. 29, 72 . Defendants’ own expert concedes that as a
result of losing the Major Account Manager position, Keeley, for the period of June 2000 to June 2002,
suffered damages in the amount of $340, 713.00. See Appendix p. 311. Accordingly, summary
judgment should be denied.

3. Assuming arguendo that the Sturges standard does apply, Plaintiff can allege an
independently tortious or unlawful act

Assuming that the Sturges standard does apply to the present case, summary judgment should
not be granted because Defendant committed an unlawful act. Specifically, the actions of Defendant
constitute retaliation. As outlined by the Sturges court, Plaintiff does not have to prove retaliation, rather
Plaintiff must only prove that the Defendant’s conduct would be actionable. Sturges, 53 S.W.3d at
726. In the present case, as outlined above, there is a material fact issue as to whether Defendant’s
conduct constitutes retaliation, an unlawful act. Accordingly, summary judgment should not be granted.
D. Plaintiff has not released his tortious interference claim

Defendant argues that summary judgment should be granted because Keeley released his tort
claim against Sun. On this issue, summary judgment should be denied because: (1) the provision does
not mention a tortious interference claim,’? (2) the provision only applies information provided to Cisco

and the outside agency and, (3) the provision is contrary to public policy.

 

'° Furthermore, this provision fails because there is insufficient consideration. See Gulf Liquid
Fertilizer Co. v. Titus, 354 §.W.2d 378, 385 (Tex. 1962)(consideration must be sufficient). In the
present case, in exchange for signing the application, Keeley was not given any consideration. Being
considered for the position is not consideration as Keeley was already being considered prior to signing
the application. Moreover, the provision fails because there is a lack of mutuality of obligation. See
Hutchings v. Slemons, 174 S.W.2d 487, 489 (Tex. 1943)(Mutuality of obligation is determined at the
time enforcement is sought, not at the time the promises were made). Enforcement of the obligation is
being sought by the Defendant now. However, the Defendant can point to no consideration it has given
to the Plaintiff in exchange for the promise.

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1. The provision does not specify which claims are to be waived

The employment application signed by Keeley mandates that all claims ensuing from any
background information obtained regarding Keeley will be waived. See Appendix p. 64. However, to
effectively release a claim in Texas, the releasing instrument must “mention” the claim to be released.
See Victoria Bank & Trust Co. v. Brady, 811 S.W.2d 931, 938 (Tex. 1991). Any claims not “clearly
within the subject matter” of the release are not discharged. Jd. Furthermore, general categorical
release clauses are narrowly construed. See Duncan v. Cessna Aircraft Co., 665 S.W.2d 414, 422
(Tex. 1984).

Here, the employment application which purports to release the Defendants from “any and all
causes ofaction ...” does not mention the claim of tortious interference with prospective employment.
See Appendix p. 64. Absent such reference, the employment application does not release the
Defendants from a claim for tortious interference with prospective employment. See Trinity Industries,
Inc. v. Ashland, Inc. and ATEC, Inc., 53 8.W.3d 852 (Tex.App.—Austin 2001, pet. denied).

In support of its argument that Keeley has released its tort claims, Defendant cites the case of
Lawrence v. CDB Services, Inc., 44 S.W.3d 544 (Tex. 2001). Lawrence, however, is easily
distinguishable. In Lawrence, the Texas Supreme Court determined that the Workers’ Compensation
Act did not prohibit employees from electing to participate in anonsubscribing employers’ benefit plan in
lieu of exercising common law remedies. In pertinent part, the benefit plan contained the following
language:

“T understand that by electing to participate in the Plan,

I will lose any right that I may have had to sue Employer...
resulting from their negligence or any other conduct actionable

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under the common law of the State of Texas, statutes of the
State of Texas, or under any otherwise available equitable relief.”
Id. at 546.

In the instant case, the provision complained, unlike Lawrence, does not mention any claims to
be released. Moreover, the Court in Lawrence determined that the parties intended to release
defendant from liability for its own future negligence. In the present case, Keeley did not intend to
release Sun, anon-party to the agreement, from liability for intentional tortious conduct. See Appendix
p. 3. Accordingly, the provision does not waive the claim of tortious interference with prospective
employment and summary judgment should be denied.

2. The release only applies to information supplied to Cisco and the outside agency

A review of the release in question clearly indicates that the waiver applies only to information
which was provided to Cisco and the outside agency. See Appendix p. 64.'' Specifically, the waiver
contains the following exculpatory language:

“T unconditionally release and hold harmless any individual, corporation,
or private or public entity from any and all causes of action that might
arise from furnishing to Cisco Systems Inc., and the outside agency
information that they may request pursuant to this release.”

See Appendix p. 64.

This particular provision was written by Defendant Cisco Systems and, as such, it must be
strictly construed in favor of the Plaintiff to reach a result reasonably consistent with the apparent intent
of the parties. See Republic National Bank of Dallas v. Northwest National Bank of Fort Worth,

578 S.W.2d 109 (Tex. 1978). Itis clear from the plain language of the release that it only applies to the

information supplied to both Cisco and the outside agency. The information complained of in the

 

'! The outside agency which conducted the background investigation was HireRight.com. See
Appendix pp. 65-67.

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present case, namely the negative reference supplied by Kevin Blair to Dean Ash, was not supplied to
HireRight.com. As such, Keeley’s claims have not been waived.

Moreover, the language of the release, as well as the essence of the release, specifically applies
to background investigations to be conducted by an outside agency as well as the report produced by
the agency. See Appendix p. 64. HireRight.com checked Keeley’s references and reported to
satisfactory responses to Cisco. See Appendix p. 65. Furthermore, Blair was not a reference
supplied by Keeley. See Appendix p. 63. Accordingly, Keeley has not released his tort claim and
summary judgment should be denied.

3. The release provision is contrary to public policy

Parties may contract to release future liability unless the agreement is unconstitutional, violates
law, or is against public policy. See Allright, Inc. v. Elledge, 515 S.W.2d 266, 267 (Tex. 1974). To
determine “whether an agreement is against public policy, courts look to the relationship between the
parties.” Jd. If a disparity in bargaining power exists in the relationship, the agreement will not be
enforced. Jd. A disparity in bargaining power exists when the releasing party “has no real choice” or is
“practically compelled” to accept the agreement. Id.; See also Crowell v. Housing Auth., 495 S.W.2d
887, 889 (Tex. 1973).

In the present case, to be considered for employment with Defendant Cisco Systems, Plaintiff
had to agree to a background check and indicate his assent by signing the application under the
authorization for the background check. See Appendix p. 64. IfKeeley had refused to give his consent

to have the background investigation conducted, Keeley would have been eliminated from consideration

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for the position. Keeley was essentially forced to agree to an exculpatory provision which would waive
any cause of action. Such a provision should be held invalid as contrary to public policy. See Allright,
515 S.W.2d at 267-68; Crowell, 495 S.W.2d at 899; See Also Solis v. Evins, 951 S.W.2d 44
(Tex.App.—Corpus Christi 1997, no pet.)(stating that a provision which would allow a party to
contractually exculpate itself with respect to intentional torts is contrary to public policy).

When Keeley signed the agreement, he was consenting to the background investigation, he did
not consent to waiving his rights to any and all future causes of action that might arise. If such a
provision, which does not specifically mention any cause of action, is held valid, then a potential
employee would not be able to sue even if false, malicious, defamatory information was provided to a
prospective employer. Accordingly, summary judgment should be denied.
E. There is a material fact issue as to Plaintiff’s breach of contract claim

In the present case, Keeley’s breach of contract claim is simply a claim for commissions
earned by Keeley under the FY ‘99 Sales Compensation Plan but not paid by Defendant. See
Appendix p. 181-308, 335-336. The Plan provided that salesmen were to be paid a commission for
equipment sold to end-user clients who were listed on the salesmen’s goal sheets. See Appendix p.
335-336.' In FY ‘99, Verio, which was an ISP for which dual credit was available, was listed on
Keeley’s goal sheet. Verio purchased ver two million dollars ($2,000,000.00) of equipment from Sun
Microsystems for end-user purposes in FY ‘99. Keeley was thus entitled to commissions on the two

million dollars ($2,000,000.00) worth of equipment bought by Verio. See Appendix pp. 174-176.

 

2 This is exhibit is a goal sheet similar to the one Keeley had in FY ‘99. It is undisputed that Verio
was on Keeley FY ‘99 goal sheet. See Appendix p. 76

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Moreover, Keeley was repeatedly informed that he would be paid 100% compensation for the
end-user products purchased by Verio. See Appendix pp. 174-176. It is undisputed that Keeley was
not paid the full amount of commissions due on a two million dollar ($2,000,000.00) sale. See
Appendix pp. 178-180. Specifically, Keeley was entitled to over sixty thousand dollars ($60,000.00)
incommissions. See Appendix pp. 2. Sun has failed to pay Keeley the commissions earned in the FY
‘99,'> Because Keeley is owed commissions by Defendant, summary judgment should be denied.
F. The After-Acquired Evidence Doctrine does not apply

Finally, Defendant argues in the alternative that Keeley’s damages should be limited under the
after-acquired evidence doctrine. However, Defendant’s argument fails as amatter of law. Under the
after-acquired evidence doctrine, relief to an aggrieved employee may be cut off at the time that a
legitimate discharge would have occurred. See McKennon v. Nashville Banner Publishing Co., 513
U.S. 352 (1995). The pertinent inquiry is whether the employee would have been fired upon discovery
of the wrongdoing, not whether he would have been hired in the first instance. See Shattuck v. Kinetic
Concepts, Inc., 49 F.3d 1106 (5" Cir. 1995). The rationale underlying consideration of after-acquired
evidence is that the employer should not be impeded in the exercise of legitimate prerogatives and the
employee should not be placed in a better position than he would have occurred absent the

discrimination. See McKinnon, 513 U.S. 360-362.

 

'3 Contrary to Defendant’s argument, Plaintiff is not requesting payment for products bought after his
employment ended with Sun. Keeley is simply requesting that he be paid commissions which had
already accrued prior to his separation from Sun. See Appendix pp. 174-176.

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In the case at bar, Defendant argues that the after-acquired evidence doctrine should be used to
limit Keeley’s claim for any damages occurring after May 24, 2002.'* Keeley, however, is complaining
of employment that he lost with Cisco Systems, not Sun Microsystems. Defendant Sun would not have
had any authority to fire Keeley once he was working for Cisco Systems. The rationale underlying the
doctrine would not be served because Sun would not have been in a position to exercise any
prerogatives regarding Keeley. As such, Sun’s argument for the application of the doctrine is not
credible. Furthermore, an application of the doctrine to Keeley’s breach of contract is not warranted
because Keeley’s claim for lost commissions accrued long before March 24, 2002. See Appendix pp.
174-176. Accordingly, under the facts of this case, any application of the after-acquired evidence
doctrine is not warranted and Defendant’s motion for partial summary judgment should be denied.'*
G. Conclusion

Based upon the foregoing arguments and authorities, Defendant Sun Microsystems is not entitled
to Summary Judgment with respect to any of Plaintiff's claims. Therefore, Plaintiff respectfully requests
that Defendant’s Motion, in all things, be denied and that Plaintiffbe granted such other and further relief

to which he may be justly entitled.

 

'4 This is the date that Defendant learned that Plaintiff was allegedly working Exodus Communications
and Sun Microsystems from January 4, 2000, until January 20, 2000.

'S Assuming arguendo that the doctrine did apply, Defendant has not presented any evidence from

Cisco Systems that it would have fired Keeley for any wrongdoing.

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CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foyegoing has been forwarded in
accordance with the Federal Rules of Civil Procedure on this the 2 day of April, 2003.

Plaintiff's Brief in Support of Response

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TRACEY R. WALLACE

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